                          Case 1:25-cr-20018-FAM Document 11 Entered on FLSD Docket 02/05/2025 Page 1 of 1

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